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Federal Rules of Appellate Procedure Form1. Notice of Appeal to a Court of Appeals
From a Judgment or Order of a District Court.

United States District Court for the District of
Southern District of New York

 

File Number 1:18-cv-4363

Heien Meimaris and Helen Meimaris as
Executor for the Estate of Alkiviades Meimaris )

Plaintiff; )
Vv. ) Notice of Appeal

Joseph E. Royce, Lawrence A. Blatte, Tulio )
Prieto, TBS Shipping Services Inc and

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Ban eDIAM Me on Vv )

Notice is hereby given that Helen Meimaris and Helen Meimaris as Executor of the (plaintiffs)

(defendants) in the above-named case*, hereby appeal to the United States Court of Appeals for

the Second Circuit (from the final judgment) (from an order (describing it)) entered in this
action on the 25th day of , 2019

/s/

Alkistis G. Meimaris

 

Attorney for Plaintiff
Address: 244 Fifth Avenue M250
New York, New York 10001

 

[Note to inmate filers: If you are an inmate confined in an institution and you seek the timing

benefit of Fed. R. App. P. 4(c)(1), complete Form 7 (Declaration of Inmate Filing) and file that
declaration along with this Notice of Appeal.|

 

*See Rule 3(c) for permissible ways of identifying appellants
